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                        IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION

                                                                   Case No.:

     ANTONIO BYRD,
                              Plaintiff,

                 and
     MIAMI DADE COUNTY,
                       Defendants.
     ____________________________________________/

                                           COMPLAINT

            COMES NOW Plaintiff, ANTONIO BYRD, by and through her undersigned

     counsel, hereby files his Complaint against the Defendant, the MIAMI DADE COUNTY

     (“hereinafter MD”).

                                            INTRODUCTION

            This civil action arises from an incident that occurred on or about February 26,

     2018, during the unlawful discrimination based on the Plaintiff’s disability and retaliation

     suffered of Plaintiff ANTONIO BYRD. The Defendant MD’s employees wrongfully

     discriminated against the Plaintiff based upon his disability and retaliated against him

     after he made several complaints regarding upper management, staff, and the

     misclassification of the mental health inmate population.

            Plaintiff ANTONIO BYRD brings federal constitutional claims against the

     Defendant MD as the official entity responsible for the conduct, training, and supervision

     of the employees under its charge. MD failed to properly train the employees in the

     appropriate methods, proper procedures, and protocols with respect to accommodating

     the Plaintiff’s disability. MD had a policy and custom that constituted deliberate


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     indifference to the Plaintiff’s constitutional claims of discrimination based on his

     disability, and MD’s policy and custom deprived the Plaintiff of his rights under the

     Constitution and the laws of the State of Florida, resulting in unlawful retaliation.

                                      JURISDICTION AND VENUE

            1. Plaintiff in his action seeks relief under the to the Americans with

                Disabilities Act (ADA), 42 U.S.C. § 12132 the Federal Rehabilitation

                Act, 20 U.S.C. § 794, and Title VII of the Civil Rights Act of 1964,

                including compensatory damages, punitive damages, costs, and

                attorney’s fees, pursuant to 42 U.S.C. § 1988.

            2. Venue is proper in the Southern District Court of Florida, pursuant to 28

                U.S.C. §1391 (b), as the Defendant’s principal place of business in Miami-

                Dade, and all of the acts and omissions giving rise to the action occurred in

                Miami-Dade County.

            3. The Court has federal question jurisdiction over the Plaintiff’s federal law

                claims, pursuant to 28 U.S.C. §§ 1331, 1343(a)(3).

            4. All conditions precedent to the maintenance of the action, including those set

                forth in Florida Statute §768.28, have been performed, have occurred prior to

                its institution, or have been waived.

                                              PARTIES

            5. At all times material hereto, Plaintiff ANTONIO BYRD is a resident of

                Miami-Dade County, Florida, and is otherwise sui juris. ANTONIO BYRD is

                an African American male with a fracture to his finger, anxiety, insomnia, and




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              depression that substantially impacts his physical and mental states while he is

              in his workplace.

           6. MD is responsible, as a matter of law, for the actions of its officials, agents,

              and employees, and was responsible for their training, supervision, and

              conduct. MD is also responsible for ensuring that its personnel obey the laws

              of the State of Florida and ensuring that its rules and regulations are followed

              and enforced by its employees.

           7. Plaintiff ANTONIO BYRD sues Defendant MD in its official capacity.

                                        FACTUAL ALLEGATIONS

                               Events that Occurred from June 2016- Present

           8. In June 2016, Plaintiff BYRD was employed with the MIAMI DADE

              CORRECTIONS AND REHABILITATION Metro West Detention Center

              located at:13850 NW 41st STREET, DORAL, FLORIDA 33178.

           9. Beginning on or about June 2016, Plaintiff repeatedly addressed classification

              issues with Lieutenant Alaro and staff alike at the Metro West Detention

              Facility. Plaintiff made several complaints, specifically regarding the facilities

              failure to address the psychiatric inmates.

           10. The inmates that suffer from psychiatric problems, upon information and

              belief, are supposed to be housed at the Turner Gilford Knight facility in a

              special unit designed to address the needs of the mental health population.

           11. On or about February 25, 2018, Plaintiff was physically attacked by an inmate

              with psychiatric and behavioral problems. Plaintiff was physically injured and

              was on medical leave for approximately six (6) weeks after he was attacked

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              by an inmate that was improperly classified. Coincidentally, this was an

              inmate who the Plaintiff warned MD may have been misclassified in general

              population.

           12. Upon Plaintiff’s return from medical leave, he was placed back in the general

              population, where the misclassification of the psychiatric inmates grew even

              worse. On multiple occasions, Plaintiff had staff that sent inmates needing to

              be evaluated for mental health due to aggressive or abnormal behaviors

              returned back to the same unit with Plaintiff.

           13. On or about April 2018, Plaintiff filed complaints with the Internal Affairs

              Unit and various agencies to document the retaliation and discrimination of

              the Defendant to no avail.

           14. During the course of his employment, the Plaintiff timely reported his

              disabilities to the Defendant MD.

           15. Plaintiff made several complaints both written and verbal regarding his

              workplace for both his safety and the safety of his co-workers due to his

              medical diagnosis, hardship that it presented for him, and that he was being

              retaliated against by the staff of the MD. Plaintiff continues to face

              discrimination and retaliation until present time.

           16. MD has maintained a long-standing, widespread history of failure to train,

              supervise, or otherwise discipline its employees for, among other things,

              unlawful discrimination and retaliation in the workplace even though it had

              notice of the unlawful conduct by its employees.




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           17. MD has maintained a system of review for abuses of lawful authority like

              discrimination and retaliation, by its employees has failed to subject

              employees that employed unlawful discrimination and retaliation to

              appropriate discipline, closer supervision, and/or retaining, to the extent that it

              has become the de facto policy and custom of MD to tolerate such acts by its

              officers.

           18. Indeed, MD routinely performs cursory investigations of incidents involving

              extremely questionable discrimination and retaliation on the part of MD’s

              employees, with an eye toward exonerating the employee involved rather than

              finding out the truth.

           19. Due to the intentionally inadequate investigative process, in virtually all

              unlawful discrimination and wrongful retaliation, MD has declared the

              conduct of its employees to be justified.

           20. MD’s foregoing acts, omissions, policies, or customs caused employees to

              believe that such acts as discrimination and retaliation would not properly be

              investigated. The consistent lack of accountability within MD for the

              questionable and often unjustifiable discrimination and retaliation has

              promoted an acceptance of unconstitutional behavior towards employees with

              disabilities. The resulting culture of discrimination and retaliation promotes

              work place hostility.

           21. Despite MD’s notice and knowledge of the impartial and biased propensities

              of their employees because of said employee’s lack of training, skill, and/or




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              experience, MD failed to implement any policies or programs to train said

              employees or otherwise intentionally failed to protect the Plaintiff.

           22. MD had policies, customs, and practices that constituted deliberate

              indifference to Plaintiff’s Constitutional Rights pursuant to the Americans

              with Disabilities Act (ADA), 42 U.S.C. § 12132 and the Federal

              Rehabilitation Act, 20 U.S.C. § 794.

           23. The policies, customs, and practices complained of include, but are not limited

              to the following:

              a. Deliberate indifference by failing to provide sufficient supervision of the

                  disability in question and by failing to monitor the situation in question;

              b. Deliberate indifference by improperly training MD employees in such a

                  way that condones, encourages, and permits their agents to violate the

                  rights of citizens that are encountered.

              c. Deliberate indifference in failing to properly supervise MD employees in

                  their encounters with persons with disabilities;

           24. MD’s deliberate indifference, failure to train, failure to effectively supervise,

              and its permission (and toleration of) the patterns and practices enumerate

              above, were the moving forces causing the serious injuries to Plaintiff and the

              violation of Plaintiff’s Constitutional Rights.

           25. The actions of Defendant in this case, as well as the actions of Defendant in

              other similar situations, indicate that the employees who violated ANTONIO

              BYRD’s rights acted in accordance with MD’s policies and reflect policies

              were adopted by MD and their officials.

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           26. The failure of MD to completely investigate the unlawful discrimination,

              wrongful retaliation, and to institute appropriate disciplinary and restraining

              action in the wake of them, severs to tacitly condone the egregious

              misconduct of the employees involved. The agency’s inaction in this regard

              effectively annuls its official general orders regarding accommodations based

              on a disability and substitutes in their place a permissive de facto policy and

              custom of tolerating unlawful discrimination and retaliation, which will

              invariably have the effect of promotion similar misconduct by other

              employees in the future. In sum, the pattern of not obeying the law on the part

              of the MD employees stems from systematic deficiencies in training and

              supervision and from the inadequate investigation and routine infraction of

              illegality.

           27. The Defendant took retaliatory actions against the Plaintiff by failing to honor

              his requests to amend policies and procedures for safety purposes and taking

              no action regarding an accommodation for his disability.

                                            COUNT I

                                       Count One
                   (ADA and Rehabilitation Act Claims Against Defendant MD)

           28. Plaintiff repeats and realleges paragraphs 1 through 27 as if fully set forth
               herein.

           29. The Federal Rehabilitation Act prohibits discrimination against an

              individual based on disability by any program or entity receiving federal

              funds. 29 U.S.C. 794(a) and (b)(2)(B).

           30. Title II of the Americans with Disabilities Act prohibits disability-based

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              discrimination by any public entity. 42 U.S.C. §§ 12131-12132.

           31. These disability anti-discrimination laws impose an affirmative duty on

              public entities to create policies or procedures to prevent discrimination

              based on disability. The Plaintiff is a person with a disability as defined in

              the Rehabilitation Act and Title II of the ADA.

                  a. Defendant MD is a program or entity which receives federal

                      financial assistance.

                  b. Defendant MD is a public entity as defined by Title II of the ADA.

                  c. Defendant MD is an agency and its operation comprise a program

                      and services for purposes of Title II of the ADA.

           32. The Plaintiff is an employee with the Defendant MD.

           33. The Plaintiff was discriminated against because of his disability by MD’s
              agents and employees at MD. Such acts constitute discrimination against an
              individual based on their disability in violation of the Rehabilitation Act and
              Title II of the ADA.

           34. The discrimination suffered by the Plaintiff at the hands of MD’s agents

              and employees denied him the benefits of his employment with MD in

              violation of Title II of the ADA.

           35. The discriminatory and retaliatory conduct was carried out by Defendant

              MD’s agents and employees while acting within the scope of their

              employment by MD. Defendant MD is liable for the actions of its agents and

              employees when they committed the violations of the Rehabilitation Act and

              Title II of the ADA alleged herein.

           36. MD has discriminated against the Plaintiff, by failing to provide a non-
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              abusive, safe working environment within the County that will allow

              employees with disabilities to maintain employment within the agency.



                                        Request for Relief

           37. As a further direct and proximate result of the conduct described above,

              Plaintiff ANTONIO BYRD suffered loss of health and mental anguish. These

              losses are either permanent or continuing, and ANTONIO BYRD will suffer

              losses in the future, in violation of his civil rights. Plaintiff has also agreed to

              pay the undersigned a reasonable attorney fee for services provided.

           WHEREFORE, Plaintiff prays for the following relief:

           a. Judgement for compensatory damages in excess of $100,000.00;

           b. Judgement for exemplary;

           c. Cost of suit;

           d. Reasonable attorney’s fees, pursuant to 42 U.S.C. § 1983;

           e. Trial by Jury as to all issues so triable; and

           f. Such other relief as this Honorable Court may deem just an appropriate.

                                            COUNT II

                                          Count Two
                                       Request for Relief
                    (Violation of Title VII of the Civil Rights Act of 1964)

           38. Plaintiff repeats and realleges paragraphs 1 through 27 as if fully set forth
              herein.




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           39. Title VII of the Civil Rights Act of 1964 prohibits discrimination based on

              race, color, or national origin in employment where there are at least fifteen

              employees including State, Federal, and local governments.

           40. As an employee with Miami Dade Corrections and Rehabilitation, Plaintiff

              had the right not to be subjected to race discrimination, including work place

              hostility and harassment. Plaintiff also had a substantive due process right to,

              and liberty interest, in his physical safety.

           41. At all relevant times, Defendant had a duty to provide a safe and

              nondiscriminatory environment for its employees, free from discrimination,

              violence, harassment, and to resolve reports or complaints of discrimination,

              violence, or harassment promptly, equitably, and adequately.

           42. At all relevant times, the Defendant continuously discriminated against the

              Plaintiff in violation of Title VII of the Civil Rights Act of 1964, by depriving

              him of his constitutional right to equal protection of the laws pursuant to the

              State and Federal Constitutions.

           43. The Plaintiff’s constitutional right to equal protection of the law was violated

              by the Defendant, due its racial discrimination, violence, and harassment.

           44. The Plaintiff’s equal protection rights were further violated due to the

              Defendant’s unofficial policies, customs, and practices of failing to act to

              protect its employees from racial discrimination, violence, and harassment.

           45. By as early as June 2016, Defendant had actual notice that Plaintiff was in

              fear for him and his coworkers’ lives. This notice alerted and informed the

              Defendant that inmates at the facility were wrongfully classified, therefore,

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              posing a serious danger to the staff and inmates alike. Defendant also received

              other reports and complaints about the predatory behavior of inmates and staff

              alike at Metro West Detention Center.

           46. Defendant had a duty to promptly and adequately report, and then safeguard

              its staff and inmate population from the risk of further violence,

              discrimination, and harassment pursuant to Federal and Florida law and its

              own rules, regulations, policies, and procedures.

           47. Each of the Defendant’s officials, administrators, agents, and employees who

              received notice of the misclassified mental health inmate population’s

              dangerous violent propensities, including Captain Lewis and Lieutenant

              Wilson had the authority, collective, or individually, to initiate corrective

              action to remove the misclassified inmates and/or to supervise the mental

              health inmate population so as to prevent the risk they posed to staff.

           48. Defendant failed to take appropriate action to either remove or appropriately

              supervise the mental health unit.

           49. At all relevant times, Defendant failed to conduct a prompt, impartial,

              reasonable, reliable, and thorough investigation of the complaints against all

              the employees trained and experienced in handling race discrimination

              complaints, as well as applicable Federal and Florida Laws, and Defendant’s

              rules, regulations, policies, and procedures.

           50. At all relevant times, Defendant also failed to establish and institute sufficient

              corrective measures to safeguard its staff from the risk of further

              discrimination, violence, and harassment by the inmates and staff alike. This

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              includes, but is not limited to: (i) Defendant’s failure to sufficiently limit,

              restrict, supervise, and monitor the mental health inmate population’s

              behavior, communications, interactions, and relations with staff; (ii)

              Defendant’s failure to take precautions that were sufficient to prevent further

              predatory behavior upon staff; and (iii) Defendant’s failure to otherwise abide

              by Federal and Florida law and to establish, implement, and abide by

              sufficient rules, regulations, policies, and procedures with regard to reporting,

              investigating, documents, and redressing race discrimination, and harassment.

           51. At all relevant times, Defendant was deliberately indifferent to the known

              dangerous violent propensities posed to staff by the misclassification.

           52. Despite its actual notice of the inmate’s dangerous propensities, Defendant

              continued to allow the inmate’s unfettered access to staff of the Metro West

              Detention Center. In doing so, and by subsequently permitting the

              misclassified mental health inmates to continue to remain in the general

              population of the facility, Defendant made an official decision to ignore

              known violence, discrimination, and harassment of the staff while in the

              Defendant’s care.

           53. As a result of Defendant’s gross failures to adequately respond to its actual

              notice of the race discrimination, Plaintiff was retaliated and harassed by the

              staff in violation of Title VII of the Civil Rights Act of 1964, Florida, and the

              Federal Constitutions.

           54. As a further result, Plaintiff has suffered, and continues to suffer, substantial

              injuries, harm, and damages. This includes, but is not limited to, severe and

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              permanent emotional, psychological, and physical injuries, pain and suffering,

              depression, fear, anxieties, inability to function normally in social situations,

              shame, humiliation, and the inability to enjoy normal life. Such harms and

              injuries are continuing and permanent. Plaintiff has also undergone medical

              and psychological treatment and incurred medical and other expenses.


           55. As a further direct and proximate result of the conduct described above,

              Plaintiff ANTONIO BYRD suffered loss of health and mental anguish. These

              losses are either permanent or continuing, and ANTONIO BYRD will suffer

              losses in the future, in violation of his civil rights. Plaintiff has also agreed to

              pay the undersigned a reasonable attorney fee for services provided.

           WHEREFORE, Plaintiff prays for the following relief:

           g. Judgement for compensatory damages in excess of $100,000.00;

           h. Judgement for exemplary;

           i. Cost of suit;

           j. Reasonable attorney’s fees, pursuant to 42 U.S.C. § 1983;

           k. Trial by Jury as to all issues so triable; and

           l. Such other relief as this Honorable Court may deem just an appropriate.

     Date: November 13, 2018

                                 CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that on November 13, 2018, I electronically filed the
     foregoing which will send a notice of electronic filing to the following:

     Miami Dade County
     111 NW 1st Street
     Miami, Florida 33128

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                                                                 Respectfully Submitted,

                                                          THE DAVIS LEGAL CENTER
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